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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                     Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Renovate America, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                              f/k/a Powerhouse Service, Inc., RAI
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   2 6      4 1 0 4 3 5 2
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              16870 W. Bernardo Dr. Ste. 408
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________
                                                                                                           P.O. Box 270469
                                                                                                          _______________________________________________
                                                                                                          P.O. Box

                                              San Diego                       CA         92127
                                              ______________________________________________               San Diego                  CA          92198-2469
                                                                                                          _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.RenovateAmerica.com/
                                              ____________________________________________________________________________________________________




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Debtor
               Renovate America, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          ■ None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 2 ___
                                                    2 ___
                                                       2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ■
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor
                 Personal Energy Finance, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        ■
                                           No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases           ■
                                           No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          ■
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        ■ No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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Debtor
               Renovate America, Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   ■ Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                              ■ 50,001-100,000
                                                                                                                         
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 ■ $50,000,001-$100 million
                                                                                                                         $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               ■ $100,000,001-$500 million
                                                                                                                         More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          12/21/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8   _____________________________________________                 Shawn Stone
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Executive Officer
                                             Title _________________________________________




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Debtor
              Renovate America, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8   _____________________________________________            Date
                                                                                                                   12/21/2020
                                                                                                                 _________________
                                            Signature of attorney for debtor                                     MM    / DD / YYYY



                                             Mette H. Kurth
                                           _________________________________________________________________________________________________
                                           Printed name
                                             Culhane Meadows PLLC
                                           _________________________________________________________________________________________________
                                           Firm name
                                             4023          Kenneth Pike #165
                                           _________________________________________________________________________________________________
                                           Number     Street
                                             Wilmington
                                           ____________________________________________________
                                                                                                            DE           19807
                                                                                                           ____________ ______________________________
                                           City                                                            State        ZIP Code

                                             (302) 660-8331
                                           ____________________________________
                                                                                                            mkurth@cm.law
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                             006491                                                         Delaware
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                     Officer’s Certificate

                                      December 17, 2020

        The undersigned, Christopher Powell, Secretary and Chief Financial Officer of Renovate
America, Inc. and Personal Energy Finance, Inc. (collectively, the “Companies”), hereby certifies
as follows:

   1. I am an officer of the Companies and, as such, I am familiar with the facts herein certified
      and I am duly authorized to certify the same on behalf of the Companies.

   2. Attached hereto as Exhibit A is a true, complete, and correct copy of the resolutions
      (the “Resolutions”) of the boards of directors of the Companies (collectively, the “Boards”),
      duly adopted at a properly convened joint meeting of the Boards on December 1, 2020, in
      accordance with the applicable bylaws of the Companies.

   3. Since their adoption and execution, the Resolutions have not been modified, rescinded, or
      amended and are in full force and effect as of the date hereof, and the Resolutions are the
      only resolutions adopted by the Boards relating to the authorization and ratification of all
      corporate actions taken in connection with the matters referred to therein.

                                   [Signature page follows.]
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IN WITNESS HEREOF, I have hereunto set my hand as of the date set forth above.




                                      By: _________________________________
                                      Name: Christopher Powell
                                      Title: Secretary & Chief Financial Officer
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                      Exhibit A
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                                      Resolution of the
                         Board of Directors of Renovate America, Inc.

                                  Dated as of December 1, 2020

        WHEREAS, the members of the board of directors (the “Board”) of Renovate America,
Inc. (the “Company”), hereby take the following actions and adopt the following resolutions
pursuant to the organization documents of the Company and the laws of the state of Delaware:

Chapter 11 Filing

         WHEREAS, the Board met with on numerous occasions and considered presentations by
the Company’s management (the “Management”) and financial, restructuring, and legal advisors
(collectively, the “Advisors”), including, but not limited to, materials regarding the Company’s
liabilities, liquidity and prospects, the strategic alternatives available to it, and the effect of the
foregoing on the Company’s business; and

      WHEREAS, the Board has had the opportunity to consult with the Management and the
Advisors of the Company and to consider fully each of the strategic alternatives available to the
Company.

         NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Board, it is
desirable and in the best interests of the Company, its creditors, and other parties in interest, that
the Company shall be, and hereby is, authorized, empowered, and directed to file or cause to be
filed a voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court
for the District of Delaware or another court of proper jurisdiction (the “Bankruptcy Court”); and

        RESOLVED, that the Chief Executive Officer, Chief Financial Officer, Chief Legal
Officer, or any other duly appointed officer of the Company (collectively, the “Authorized
Officers”), acting alone or with one or more other Authorized Officers be, and each of them hereby
is, authorized, empowered, and directed to execute and file on behalf of the Company all petitions,
schedules, lists, and other motions, papers, or documents (including the filing of financing
statements) as necessary to commence the Chapter 11 Case, and to take any and all action that they
deem necessary, appropriate, or desirable to obtain such relief, including, without limitation, any
action necessary, appropriate, or desirable to maintain the ordinary course operation of the
Company’s business.

Retention of Professionals

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the law firm of Bryan Cave Leighton Paisner LLP (“BCLP”),
as the Company’s counsel, to represent and assist the Company in carrying out its duties under the
Bankruptcy Code and to take any and all actions to advance the Company’s rights and remedies,
including filing any pleadings and conducting any potential restructuring or sale process on behalf
of the Company; and, in connection therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
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agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain BCLP in accordance with applicable law;

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Culhane Meadows PLLC (“Culhane Meadows”),
as the Company’s co-bankruptcy counsel; and, in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Culhane Meadows in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Armanino LLP (“Armanino”), as the Company’s
financial advisor and investment banker; and, in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Armanino in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Glass Ratner Advisory & Capital Group, LLC
d/b/a B. Riley Advisory Services (“B. Riley”), as the Company’s restructuring advisor; and, in
connection therewith, each of the Authorized Officers, with power of delegation, is hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain B. Riley in
accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Stretto (“Stretto”), as notice, claims, and balloting
agent and as administrative advisor to represent and assist the Company in carrying out its duties
under the Bankruptcy Code and to take any and all actions to advance the Company’s rights and
remedies; and, in connection therewith, each of the Authorized Officers, with power of delegation,
is hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain
Stretto in accordance with applicable law;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized Officers,
with power of delegation, is hereby authorized, empowered, and directed to execute appropriate
retention agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary; and

        RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Officers
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deem necessary, proper, or desirable in connection with the Company’s Chapter 11 Case, with a
view to the successful prosecution of such cases.

Debtor-in-Possession Financing

       WHEREAS, reference is made to that certain Debtor-In-Possession Credit Agreement
(together with all exhibits, schedules, and annexes thereto, as amended, amended and restated,
supplemented or otherwise modified from time to time, the “DIP Credit Agreement”) dated as of,
or about, the date hereof, by and among the Company, as the borrower and a debtor and debtor-
in-possession under chapter 11 of the Bankruptcy Code, and Finance of America Mortgage LLC,
as lender (the “DIP Lender”);

       WHEREAS, the Company has requested that the DIP Lender provide a secured debtor-in-
possession revolving credit facility to the Company;

       WHEREAS, the obligation of the DIP Lender to make the extensions of credit to the
Company is subject to, among other things, the Company entering into the DIP Credit Agreement
and the Company satisfying certain conditions in the DIP Credit Agreement;

       WHEREAS, the Company will obtain benefits from the DIP Credit Agreement and it is
advisable and in the best interest of the Company that the Company enters into the DIP Credit
Agreement and performs its obligations thereunder; and

        WHEREAS, the Company will obtain benefits from the other Loan Documents (as defined
in the DIP Credit Agreement, the “DIP Loan Documents”) and it is advisable and in the best
interest of the Company that it enter into each DIP Loan Document to which it is a party and to
perform its obligations thereunder, including guaranteeing the obligations of the Company and the
Company under the Loan Documents and granting security interests in all or substantially all of
its assets.

        NOW, THEREFORE, BE IT RESOLVED, that the form, terms, and provisions of the
DIP Credit Agreement and each other DIP Loan Document, and the transactions contemplated by
the DIP Credit Agreement (including, without limitation, the borrowings thereunder) and each
other DIP Loan Document, the transactions contemplated therein, and the guarantees, liabilities,
obligations, security interests granted, and notes issued, if any, in connection therewith, be and
hereby are authorized, adopted, and approved;

         RESOLVED, that the Company will obtain benefits from the DIP Credit Agreement and
it is advisable and in the best interest of the Company that the Company enters into the DIP Credit
Agreement and performs its obligations thereunder;

        RESOLVED, that the Company will obtain benefits from the other DIP Loan Documents
and it is advisable and in the best interest of the Company that it enters into the DIP Loan
Documents to which it is a party and performs its obligations thereunder, including guaranteeing
the obligations of the Company under the Loan Documents and granting security interests in all or
substantially all of its assets;
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        RESOLVED, that the Company’s execution and delivery of, and its performance of its
obligations (including guarantees) in connection with the DIP Credit Agreement and the other
DIP Loan Documents, are hereby, in all respects, authorized and approved; and further resolved,
that each of the Authorized Officers, is hereby authorized, empowered, and directed to negotiate
the terms of and to execute, deliver, and perform under the DIP Credit Agreement, the other
DIP Loan Documents, and any and all other documents, certificates, instruments, agreements,
intercreditor agreements, security agreements, pledge agreements, guarantees, mortgages, deeds
of trust, and any amendment or any other modification of any of the foregoing (collectively, the
“Related Documents”) required to consummate the transactions contemplated by the DIP Credit
Agreement and any other DIP Loan Document in the name and on behalf of the Company, in the
form approved, with such changes therein and modifications and amendments thereto as any of
the Authorized Officers may in his or her sole discretion approve, which approval shall be
conclusively evidenced by his or her execution thereof. Such execution by any of the
Authorized Officers is hereby authorized to be by facsimile, emailed, engraved, or printed as
deemed necessary and preferable;

        RESOLVED, that each of the Authorized Officers, acting alone or with one or more
Authorized Officers, be, and hereby are, authorized, empowered, and directed in the name of, and
on behalf of, the Company to seek authorization to enter into the DIP Credit Agreement and each
other DIP Loan Document and to seek approval of the use of cash collateral pursuant to a
postpetition financing order in interim and final form, and any Authorized Officer be, and hereby
is, authorized, empowered, and directed to negotiate, execute, and deliver any and all agreements,
instruments, or documents, by or on behalf of the Company, necessary to implement the
postpetition financing, including providing for adequate protection in accordance with section 363
of the Bankruptcy Code, as well as any additional or further agreements for entry into the
DIP Credit Agreement and each other DIP Loan Document and the use of cash collateral in
connection with the Company’s Chapter 11 Case, which agreements may require the Company to
grant adequate protection and liens to the DIP Lender and other lenders and each other agreement,
instrument, or document to be executed and delivered in connection therewith, by or on behalf of
the Company pursuant thereto or in connection therewith, all with such changes therein and
additions thereto as any Authorized Officer approves, such approval to be conclusively evidenced
by the taking of such action or by the execution and delivery thereof;

        RESOLVED, that (i) the form, terms, and provisions of the DIP Credit Agreement and all
other DIP Loan Documents to which the Company is a party, (ii) the grant of security interests in,
pledges of, and liens on all or substantially all of the assets now or hereafter owned by the
Company as collateral (including pledges of equity, real property, and personal property as
collateral) under the DIP Loan Documents, (iii) the guarantee of obligations by the Company under
the DIP Loan Documents, from which the Company will derive value, in each case, be and hereby
are, authorized, adopted, and approved, and (iv) any Authorized Officer or other officer of the
Company is hereby authorized, empowered, and directed, in the name of and on behalf of the
Company, to take such actions and negotiate or cause to be prepared and negotiated and to execute,
deliver, perform, and cause the performance of, each of the transactions contemplated by the
DIP Credit Agreement, substantially in the form provided to the Board, the DIP Loan Documents
and such other agreements, fee letters, commitment letters, certificates, instruments, receipts,
petitions, motions, or other papers or documents to which the Company is or will be a party or any
order entered into in connection with the Chapter 11 Case (collectively with the DIP Credit
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Agreement, the other DIP Loan Documents and the Related Documents, the “Financing
Documents”), incur and pay or cause to be paid all related fees and expenses, with such changes,
additions, and modifications thereto as an Authorized Officer executing the same shall approve;

        RESOLVED, that the Company, as debtor and debtor-in-possession under the Bankruptcy
Code be, and hereby is, authorized, empowered, and directed to incur any and all obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under
the Financing Documents (collectively, the “Financing Transactions”), including granting liens on
its assets to secure such obligations and the refinancing of the obligations outstanding pursuant to
the PEFI Warehouse Facility (as defined in the DIP Credit Agreement);

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company, as debtor and debtor in
possession, to take such actions as in its discretion is determined to be necessary, desirable, or
appropriate to execute, deliver, and file: (a) the Financing Documents and such agreements,
certificates, instruments, guaranties, notices, and any and all other documents, including, without
limitation, any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of any Financing Documents necessary, desirable, or appropriate to
facilitate the Financing Transactions; (b) all petitions, schedules, lists, and other motions, papers,
or documents, which shall in its sole judgment be necessary, proper, or advisable, which
determination shall be conclusively evidenced by his/her or their execution thereof; (c) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the DIP Lender and other parties in interest; and (d) such forms of deposit account control
agreements, officer’s certificates, and compliance certificates as may be required by the Financing
Documents;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company to file or to authorize the
DIP Lender to file any Uniform Commercial Code (“UCC”) financing statements, any other
equivalent filings, any intellectual property or real estate filings and recordings, and any necessary
assignments for security or other documents in the name of the Company that either DIP Lender
deems necessary or convenient to perfect any lien or security interest granted under the Financing
Documents, including any such UCC financing statement containing a generic description of
collateral, such as “all assets,” “all property now or hereafter acquired,” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording of,
such mortgages and deeds of trust in respect of real property of the Company and such other filings
in respect of intellectual and other property of the Company, in each case as the DIP Lender may
reasonably request to perfect the security interests of the DIP Lender under the Financing
Documents;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company to take all such further
actions, including, without limitation, to pay or approve the payment of all fees and expenses
payable in connection with the Financing Transactions and all fees and expenses incurred by or on
behalf of the Company in connection with the foregoing resolutions, in accordance with the terms
of the Financing Documents, which shall in their reasonable business judgment be necessary,
proper, or advisable to perform the Company’s obligations under or in connection with the
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Financing Documents or any of the Financing Transactions and to fully carry out the intent of the
foregoing resolutions;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company, to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the postpetition financing or any of the Financing Documents or
to do such other things which shall in their sole judgment be necessary, desirable, proper, or
advisable to give effect to the foregoing resolutions, which determination shall be conclusively
evidenced by his/her or their execution thereof; and

        RESOLVED, that to the extent the Company serves as the sole member, general partner,
managing member, equivalent manager, or other governing body of any limited liability company,
corporation, or partnership (each such entity, a “Controlled Company”), each Authorized Officer,
as applicable, is authorized, empowered, and directed to take or cause to be taken each of the
actions described in these resolutions or any of the actions authorized by these resolutions on
behalf of the applicable Controlled Company.

General Authorizations

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
they hereby are, authorized, empowered, and directed, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable, or desirable in order to fully carry
out the intent and accomplish the purposes of the resolutions adopted herein;

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to take or cause to be taken in the name of and on behalf of the Company, any and all
such other and further action to carry out the intent and accomplish the purposes of the resolutions
adopted herein as such purposes related to the Company;

        RESOLVED, that the Company and the Board have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of the Company, or hereby waive any right to have
received such notice;

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of the Company with the same force and effect as if each such act, transaction, agreement,
or certificate has been specifically authorized in advance by resolution of the Board;

       RESOLVED, that each of the Authorized Officers (and their designees and delegates) be,
and hereby is, authorized, empowered, and directed to take all actions, or to not take any action in
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the name of the Company, with respect to the transactions contemplated by these resolutions
hereunder, as such Authorized Officer shall deem necessary or desirable in such Authorized
Officer’s reasonable business judgment, as may be necessary or convenient to effectuate the
purposes of the transactions contemplated herein; and

       RESOLVED, that this consent may be executed in any number of counterparts, each of
which shall be deemed to be an original, and such counterparts shall constitute but one and the
same consent.

                                           *****
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                                       Resolution of the
                      Board of Directors of Personal Energy Finance, Inc.

                                  Dated as of December 1, 2020

        WHEREAS, the members of the board of directors (the “Board”) of Personal Energy
Finance, Inc. (the “Company”), hereby take the following actions and adopt the following
resolutions pursuant to the organization documents of the Company and the laws of the state of
Delaware:

Chapter 11 Filing

         WHEREAS, the Board met with on numerous occasions and considered presentations by
the Company’s management (the “Management”) and financial, restructuring, and legal advisors
(collectively, the “Advisors”), including, but not limited to, materials regarding the Company’s
liabilities, liquidity and prospects, the strategic alternatives available to it, and the effect of the
foregoing on the Company’s business; and

      WHEREAS, the Board has had the opportunity to consult with the Management and the
Advisors of the Company and to consider fully each of the strategic alternatives available to the
Company.

         NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Board, it is
desirable and in the best interests of the Company, its creditors, and other parties in interest, that
the Company shall be, and hereby is, authorized, empowered, and directed to file or cause to be
filed a voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court
for the District of Delaware or another court of proper jurisdiction (the “Bankruptcy Court”); and

        RESOLVED, that the Chief Executive Officer, Chief Financial Officer, Chief Legal
Officer, or any other duly appointed officer of the Company (collectively, the “Authorized
Officers”), acting alone or with one or more other Authorized Officers be, and each of them hereby
is, authorized, empowered, and directed to execute and file on behalf of the Company all petitions,
schedules, lists, and other motions, papers, or documents (including the filing of financing
statements) as necessary to commence the Chapter 11 Case, and to take any and all action that they
deem necessary, appropriate, or desirable to obtain such relief, including, without limitation, any
action necessary, appropriate, or desirable to maintain the ordinary course operation of the
Company’s business.

Retention of Professionals

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the law firm of Bryan Cave Leighton Paisner LLP (“BCLP”),
as the Company’s counsel, to represent and assist the Company in carrying out its duties under the
Bankruptcy Code and to take any and all actions to advance the Company’s rights and remedies,
including filing any pleadings and conducting any potential restructuring or sale process on behalf
of the Company; and, in connection therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
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agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain BCLP in accordance with applicable law;

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Culhane Meadows PLLC (“Culhane Meadows”),
as the Company’s co-bankruptcy counsel; and, in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Culhane Meadows in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Armanino LLP (“Armanino”), as the Company’s
financial advisor and investment banker; and, in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Armanino in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Glass Ratner Advisory & Capital Group, LLC
d/b/a B. Riley Advisory Services (“B. Riley”), as the Company’s restructuring advisor; and, in
connection therewith, each of the Authorized Officers, with power of delegation, is hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain B. Riley in
accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ the firm of Stretto (“Stretto”), as notice, claims, and balloting
agent and as administrative advisor to represent and assist the Company in carrying out its duties
under the Bankruptcy Code and to take any and all actions to advance the Company’s rights and
remedies; and, in connection therewith, each of the Authorized Officers, with power of delegation,
is hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain
Stretto in accordance with applicable law;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized Officers,
with power of delegation, is hereby authorized, empowered, and directed to execute appropriate
retention agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary; and

        RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Officers
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deem necessary, proper, or desirable in connection with the Company’s Chapter 11 Case, with a
view to the successful prosecution of such cases.

Debtor-in-Possession Financing

       WHEREAS, reference is made to that certain Debtor-In-Possession Credit Agreement
(together with all exhibits, schedules, and annexes thereto, as amended, amended and restated,
supplemented or otherwise modified from time to time, the “DIP Credit Agreement”) dated as of,
or about, the date hereof, by and among the Company, as the borrower and a debtor and debtor-
in-possession under chapter 11 of the Bankruptcy Code, and Finance of America Mortgage LLC,
as lender (the “DIP Lender”);

       WHEREAS, the Company has requested that the DIP Lender provide a secured debtor-in-
possession revolving credit facility to the Company;

       WHEREAS, the obligation of the DIP Lender to make the extensions of credit to the
Company is subject to, among other things, the Company entering into the DIP Credit Agreement
and the Company satisfying certain conditions in the DIP Credit Agreement;

       WHEREAS, the Company will obtain benefits from the DIP Credit Agreement and it is
advisable and in the best interest of the Company that the Company enters into the DIP Credit
Agreement and performs its obligations thereunder; and

        WHEREAS, the Company will obtain benefits from the other Loan Documents (as defined
in the DIP Credit Agreement, the “DIP Loan Documents”) and it is advisable and in the best
interest of the Company that it enter into each DIP Loan Document to which it is a party and to
perform its obligations thereunder, including guaranteeing the obligations of the Company and the
Company under the Loan Documents and granting security interests in all or substantially all of
its assets.

        NOW, THEREFORE, BE IT RESOLVED, that the form, terms, and provisions of the
DIP Credit Agreement and each other DIP Loan Document, and the transactions contemplated by
the DIP Credit Agreement (including, without limitation, the borrowings thereunder) and each
other DIP Loan Document, the transactions contemplated therein, and the guarantees, liabilities,
obligations, security interests granted, and notes issued, if any, in connection therewith, be and
hereby are authorized, adopted, and approved;

         RESOLVED, that the Company will obtain benefits from the DIP Credit Agreement and
it is advisable and in the best interest of the Company that the Company enters into the DIP Credit
Agreement and performs its obligations thereunder;

        RESOLVED, that the Company will obtain benefits from the other DIP Loan Documents
and it is advisable and in the best interest of the Company that it enters into the DIP Loan
Documents to which it is a party and performs its obligations thereunder, including guaranteeing
the obligations of the Company under the Loan Documents and granting security interests in all or
substantially all of its assets;
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        RESOLVED, that the Company’s execution and delivery of, and its performance of its
obligations (including guarantees) in connection with the DIP Credit Agreement and the other
DIP Loan Documents, are hereby, in all respects, authorized and approved; and further resolved,
that each of the Authorized Officers, is hereby authorized, empowered, and directed to negotiate
the terms of and to execute, deliver, and perform under the DIP Credit Agreement, the other
DIP Loan Documents, and any and all other documents, certificates, instruments, agreements,
intercreditor agreements, security agreements, pledge agreements, guarantees, mortgages, deeds
of trust, and any amendment or any other modification of any of the foregoing (collectively, the
“Related Documents”) required to consummate the transactions contemplated by the DIP Credit
Agreement and any other DIP Loan Document in the name and on behalf of the Company, in the
form approved, with such changes therein and modifications and amendments thereto as any of
the Authorized Officers may in his or her sole discretion approve, which approval shall be
conclusively evidenced by his or her execution thereof. Such execution by any of the
Authorized Officers is hereby authorized to be by facsimile, emailed, engraved, or printed as
deemed necessary and preferable;

        RESOLVED, that each of the Authorized Officers, acting alone or with one or more
Authorized Officers, be, and hereby are, authorized, empowered, and directed in the name of, and
on behalf of, the Company to seek authorization to enter into the DIP Credit Agreement and each
other DIP Loan Document and to seek approval of the use of cash collateral pursuant to a
postpetition financing order in interim and final form, and any Authorized Officer be, and hereby
is, authorized, empowered, and directed to negotiate, execute, and deliver any and all agreements,
instruments, or documents, by or on behalf of the Company, necessary to implement the
postpetition financing, including providing for adequate protection in accordance with section 363
of the Bankruptcy Code, as well as any additional or further agreements for entry into the
DIP Credit Agreement and each other DIP Loan Document and the use of cash collateral in
connection with the Company’s Chapter 11 Case, which agreements may require the Company to
grant adequate protection and liens to the DIP Lender and other lenders and each other agreement,
instrument, or document to be executed and delivered in connection therewith, by or on behalf of
the Company pursuant thereto or in connection therewith, all with such changes therein and
additions thereto as any Authorized Officer approves, such approval to be conclusively evidenced
by the taking of such action or by the execution and delivery thereof;

        RESOLVED, that (i) the form, terms, and provisions of the DIP Credit Agreement and all
other DIP Loan Documents to which the Company is a party, (ii) the grant of security interests in,
pledges of, and liens on all or substantially all of the assets now or hereafter owned by the
Company as collateral (including pledges of equity, real property, and personal property as
collateral) under the DIP Loan Documents, (iii) the guarantee of obligations by the Company under
the DIP Loan Documents, from which the Company will derive value, in each case, be and hereby
are, authorized, adopted, and approved, and (iv) any Authorized Officer or other officer of the
Company is hereby authorized, empowered, and directed, in the name of and on behalf of the
Company, to take such actions and negotiate or cause to be prepared and negotiated and to execute,
deliver, perform, and cause the performance of, each of the transactions contemplated by the
DIP Credit Agreement, substantially in the form provided to the Board, the DIP Loan Documents
and such other agreements, fee letters, commitment letters, certificates, instruments, receipts,
petitions, motions, or other papers or documents to which the Company is or will be a party or any
order entered into in connection with the Chapter 11 Case (collectively with the DIP Credit
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Agreement, the other DIP Loan Documents and the Related Documents, the “Financing
Documents”), incur and pay or cause to be paid all related fees and expenses, with such changes,
additions, and modifications thereto as an Authorized Officer executing the same shall approve;

        RESOLVED, that the Company, as debtor and debtor-in-possession under the Bankruptcy
Code be, and hereby is, authorized, empowered, and directed to incur any and all obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under
the Financing Documents (collectively, the “Financing Transactions”), including granting liens on
its assets to secure such obligations and the refinancing of the obligations outstanding pursuant to
the PEFI Warehouse Facility (as defined in the DIP Credit Agreement);

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company, as debtor and debtor in
possession, to take such actions as in its discretion is determined to be necessary, desirable, or
appropriate to execute, deliver, and file: (a) the Financing Documents and such agreements,
certificates, instruments, guaranties, notices, and any and all other documents, including, without
limitation, any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of any Financing Documents necessary, desirable, or appropriate to
facilitate the Financing Transactions; (b) all petitions, schedules, lists, and other motions, papers,
or documents, which shall in its sole judgment be necessary, proper, or advisable, which
determination shall be conclusively evidenced by his/her or their execution thereof; (c) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the DIP Lender and other parties in interest; and (d) such forms of deposit account control
agreements, officer’s certificates, and compliance certificates as may be required by the Financing
Documents;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company to file or to authorize the
DIP Lender to file any Uniform Commercial Code (“UCC”) financing statements, any other
equivalent filings, any intellectual property or real estate filings and recordings, and any necessary
assignments for security or other documents in the name of the Company that either DIP Lender
deems necessary or convenient to perfect any lien or security interest granted under the Financing
Documents, including any such UCC financing statement containing a generic description of
collateral, such as “all assets,” “all property now or hereafter acquired,” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording of,
such mortgages and deeds of trust in respect of real property of the Company and such other filings
in respect of intellectual and other property of the Company, in each case as the DIP Lender may
reasonably request to perfect the security interests of the DIP Lender under the Financing
Documents;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company to take all such further
actions, including, without limitation, to pay or approve the payment of all fees and expenses
payable in connection with the Financing Transactions and all fees and expenses incurred by or on
behalf of the Company in connection with the foregoing resolutions, in accordance with the terms
of the Financing Documents, which shall in their reasonable business judgment be necessary,
proper, or advisable to perform the Company’s obligations under or in connection with the
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Financing Documents or any of the Financing Transactions and to fully carry out the intent of the
foregoing resolutions;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, the Company, to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the postpetition financing or any of the Financing Documents or
to do such other things which shall in their sole judgment be necessary, desirable, proper, or
advisable to give effect to the foregoing resolutions, which determination shall be conclusively
evidenced by his/her or their execution thereof; and

        RESOLVED, that to the extent the Company serves as the sole member, general partner,
managing member, equivalent manager, or other governing body of any limited liability company,
corporation, or partnership (each such entity, a “Controlled Company”), each Authorized Officer,
as applicable, is authorized, empowered, and directed to take or cause to be taken each of the
actions described in these resolutions or any of the actions authorized by these resolutions on
behalf of the applicable Controlled Company.

General Authorizations

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
they hereby are, authorized, empowered, and directed, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable, or desirable in order to fully carry
out the intent and accomplish the purposes of the resolutions adopted herein;

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to take or cause to be taken in the name of and on behalf of the Company, any and all
such other and further action to carry out the intent and accomplish the purposes of the resolutions
adopted herein as such purposes related to the Company;

        RESOLVED, that the Company and the Board have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of the Company, or hereby waive any right to have
received such notice;

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of the Company with the same force and effect as if each such act, transaction, agreement,
or certificate has been specifically authorized in advance by resolution of the Board;

       RESOLVED, that each of the Authorized Officers (and their designees and delegates) be,
and hereby is, authorized, empowered, and directed to take all actions, or to not take any action in
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the name of the Company, with respect to the transactions contemplated by these resolutions
hereunder, as such Authorized Officer shall deem necessary or desirable in such Authorized
Officer’s reasonable business judgment, as may be necessary or convenient to effectuate the
purposes of the transactions contemplated herein; and

       RESOLVED, that this consent may be executed in any number of counterparts, each of
which shall be deemed to be an original, and such counterparts shall constitute but one and the
same consent.

                                           *****
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                   )
 In re:                                            )      Chapter 11
                                                   )
 RENOVATE AMERICA, INC.                            )
                                                   )
                          Debtor.                  )
                                                   )

                         STATEMENT OF CORPORATE OWNERSHIP

          The following is the list of entities that directly or indirectly own 10% or more of any

class of the above-captioned debtor’s equity interests. This list has been prepared in accordance

with Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1 for filing in this chapter 11 case.

                                                            Approximate Percentage
                         Holder Name
                                                            of Equity Interests Held

              Thrivepoint Financial Holdings, Inc.                      100%
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                   )
            In re:                                                 )      Chapter 11
                                                                   )
            RENOVATE AMERICA, INC.                                 )
                                                                   )
                                     Debtor.                       )
                                                                   )

                            LIST OF EQUITY SECURITY HOLDERS1 (RULE 1007(a)(3))

                     Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

        identifies all holders having a direct ownership interest in the above-captioned debtor and debtor

        in possession:

                                                                                                                       Number of
                     Name                         Last Known Address               Kind/Class of Interest
                                                                                                                     Interests Held
                                                 16870 W. Bernardo Dr.,
Thrivepoint Financial Holdings, Inc.             Ste. 408                              Common Shares                       100%
                                                 San Diego, CA 92127




        1
              This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
              Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
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          Fill in this information to identify the case:

          Debtor name      Renovate America, Inc.                                                _

          United States Bankruptcy Court for the:          District of
                                                                         (State)
                                                                                                                                                Check if this is an
          Case number (If known):
                                                                                                                                                   amended filing




      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders                                                                                                                     12/15

      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
      disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
      secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
      largest unsecured claims.


    Name of creditor and complete             Name, telephone number, and email       Nature of the claim      Indicate if     Amount of unsecured claim
    mailing address, including zip            address of creditor contact             (for example, trade      claim is        If the claim is fully unsecured, fill in only
    code                                                                              debts, bank loans,       contingent,     unsecured claim amount. If claim is partially
                                                                                      professional services,   unliquidated,   secured, fill in total claim amount and deduction
                                                                                      and government           or disputed     for value of collateral or setoff to calculate
                                                                                      contracts)                               unsecured claim.

                                                                                                                               Total claim,     Deduction for     Unsecured
                                                                                                                               if partially     value of          claim
                                                                                                                               secured          collateral or
                                                                                                                                                setoff
  SFII Rancho Bernardo, LLC                  Steve Blue
1 260 California St, Suite 1100              Email: blue@swiftrp.com                           Rent            Unliquidated                                      $13,627,447.00
  San Francisco, CA 94111

  State of California                        Lauren Dossey
2 Office of District Attorney                Phone: 951-955-5400
  3960 Orange St                             Email: LaurenDossey@RivCoDA.org            Legal Settlement                                                          $2,700,000.00
  Riverside, CA 92501

    Larson O'Brien LLP                  Email: dceballos@larsonobrienlaw.com
3
    555 South Flower Street, Suite 4400                                               Professional Services                                                        $891,484.57
    Los Angeles, CA 90071

    ReedSmith LLP                            Email: caach@reedsmith.com
4
    33489 PO BOX 39000                                                                Professional Services                                                        $832,889.80
    San Francisco, CA 94139
  CBRE, Inc.                                 Email: Luzviminda.Thrall@cbre.com
5 P.O. Box 740935
  Location Code 2142                                                                       Trade Debts                                                             $323,941.43
  Los Angeles, CA 90074-0935
  Concord Servicing Corporation              Email: billing@concordservicing.com
6 4150 N Drinkwater Blvd
  Suite 200                                                                                Trade Debts                                                             $310,080.93
  Scottsdale, AZ 85251

  Squire Patton Boggs (US) LLP               Email: aaron.seamon@squirepb.com
7 41 South High Street
                                                                                      Professional Services                                                        $220,178.15
  Columbus, OH 43215
  Hunton Andrews Kurth LLP                   Email: lgrosse@HuntonAK.com
8 PO Box 405759
                                                                                      Professional Services                                                        $144,035.72
  Atlanta, GA 30384-5759
  Goodwin Procter LLP                        Email: MSheldon@goodwinprocter.com
9 100 Northern Avenue
                                                                                      Professional Services                                                        $113,143.07
  Boston, MA 02210




       Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 1
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    Debtor            Renovate America, Inc.                                   _                 Case number (if known)
                  Name




   Name of creditor and complete          Name, telephone number, and email         Nature of the claim      Indicate if     Amount of unsecured claim
   mailing address, including zip         address of creditor contact               (for example, trade      claim is        If the claim is fully unsecured, fill in only
   code                                                                             debts, bank loans,       contingent,     unsecured claim amount. If claim is partially
                                                                                    professional services,   unliquidated,   secured, fill in total claim amount and
                                                                                    and government           or disputed     deduction for value of collateral or setoff to
                                                                                    contracts)                               calculate unsecured claim.

                                                                                                                             Total claim,     Deduction       Unsecured
                                                                                                                             if partially     for value of    claim
                                                                                                                             secured          collateral or
                                                                                                                                              setoff

   Best Best & Krieger LLP              Steven DeBaun, Esq., General Counsel,
10 3390 University Avenue               WRCOG
   5th Floor                            Email: steven.debaun@bbklaw.com             Professional Services                                                      $111,586.51
   Riverside, CA 92502

   Corelogic                             Email: pisgar.sna.ca@corelogic.com
11 P O Box 847239
                                                                                         Trade Debts                                                           $108,941.76
   Dallas, TX 75284

   National Economic Research            Xiaoling Ang
12 Associates, Inc.                      Phone: 202-466-9259
   1255 23rd Street NW                   Email: lingling.ang@nera.com                    Trade Debts                                                           $63,672.87
   Washington, DC 20037
   West Publishing Corporation           Email:
13 PO Box 6292                          WestAccountsReceivable@thomsonreuters.           Trade Debts                                                           $50,716.97
   Carol Stream, IL 60197-6292          com

   Winston & Strawn, LLP                 Email: dpassage@winston.com
14 200 Park Avenue
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   New York, NY 10166

   Five9 Inc                         Email: billing@five9.com
15 4000 Executive Parkway, Suite 400
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   San Ramon, CA 94583

   Hudson Cook, LLP                      Email: mmclean@hudco.com
16 7037 Ridge Rd. Ste. 300
                                                                                    Professional Services                                                      $18,925.00
   Hanover, MD 21076

   Brightcove Inc                        Email: fin-express@brightcove.com
17 PO Box 83318
                                                                                         Trade Debts                                                           $17,000.00
   Woburn, MA 01813

   Littler Mendelson, PC                 Email: clientpayments@littler.com
18 PO Box 45547
                                                                                    Professional Services                                                      $14,114.00
   San Francisco, CA 94145-0547

   Trantor, Inc.                         Sanjul Saxena
19 3723 Haven Ave, #120                  Phone: 510-703-4506                             Trade Debts                                                           $12,500.00
   Menlo Park, CA 94025                  Email: sanjul.saxena@trantorinc.com

   Electronic Printing Solutions, LLC    Email: mchau@epsolution.com
20 4879 Ronson Ct
   Suite C                                                                               Trade Debts                                                           $11,144.66
   San Diego, CA 92111

   Fidelity National Information         Email: Nermina.Selman@fisglobal.com
21 Services, Inc.
   PO Box 4535                                                                           Trade Debts                                                           $11,000.00
   Carol Stream, IL 60197-4535

   SHI International Corp                Email: matt_soles@shi.com
22 290 Davidson Avenue
                                                                                         Trade Debts                                                            $9,849.26
   Somerset, NJ 08873

   StreamSource Technologies Inc         Email: rupesh@skeps.com
23 25 Broadway, 9th Floor
                                                                                         Trade Debts                                                            $9,540.02
   New York, NY 10004




      Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 2
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    Debtor           Renovate America, Inc.                                 _                      Case number (if known)
                  Name




   Name of creditor and complete     Name, telephone number, and email          Nature of the claim       Indicate if       Amount of unsecured claim
   mailing address, including zip    address of creditor contact                (for example, trade       claim is          If the claim is fully unsecured, fill in only
   code                                                                         debts, bank loans,        contingent,       unsecured claim amount. If claim is partially
                                                                                professional services,    unliquidated,     secured, fill in total claim amount and deduction
                                                                                and government            or disputed       for value of collateral or setoff to calculate
                                                                                contracts)                                  unsecured claim.

                                                                                                                            Total claim,     Deduction for    Unsecured claim
                                                                                                                            if partially     value of
                                                                                                                            secured          collateral or
                                                                                                                                             setoff

   Secure Talent, Inc.             Email:
24 2385 Northside Drive, Suite 250 accounts.receivable@eastridge.com
                                                                                     Trade Debts                                                                $8,978.55
   San Diego, CA 92108

   Jobvite                           Email: ar@jobvite.com
25 PO Box 208262
                                                                                     Trade Debts                                                                $7,500.00
   Dallas, TX 75320-8262

   Folger Levin LLP                  Email: cconner@folgerlevin.com
26 199 Fremont Street 20th Floor
                                                                                Professional Services                                                           $6,796.00
   San Francisco, CA 94105

   Trace3, Inc.                      Email: accountsreceivable@trace3.com
27 PO Box 847467
                                                                                     Trade Debts                                                                $6,211.98
   Los Angeles, CA 90084-7467

   McGlinchey Stafford              Email:
28 PO Box 2153                      accountsreceivable@mcglinchey.com           Professional Services                                                           $4,641.59
   Birmingham, AL 35287

   The Bank of New York Mellon       Email: stuart.weiss@bnymellon.com
29 Trust Company, N.A.               Phone: 213-553-9510
   PO Box 392013                                                                     Trade Debts                                                                $4,400.00
   Pittsburgh, PA 15251-9013
   Baker Tilly US, LLP               Email: Adam.Bullock@bakertilly.com
30 4100 Newport Place Drive
                                                                                Professional Services                                                           $3,175.00
   Newport, CA 92660




      Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 3
              Case 20-13172-LSS         Doc 1       Filed 12/21/20   Page 28 of 29




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                )
 In re:                                         )      Chapter 11
                                                )
 RENOVATE AMERICA, INC.                         )
                                                )
                       Debtor.                  )
                                                )

                        CERTIFICATION OF CREDITOR MATRIX

         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”) hereby certify that the Consolidated
List of Creditors submitted contemporaneously herewith (the “Creditor Matrix”) contains the
names and addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the Creditor
Matrix is complete, correct, and consistent with Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.
                                 Case 20-13172-LSS                Doc 1           Filed 12/21/20              Page 29 of 29

 Fill in this information to identify the case and this filing:


              Renovate America, Inc.
 Debtor Name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         ✔
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ✔
                                                        Statement of Corporate Ownership, List of Equity Holders and Certification of Creditor Matrix
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    12/21/2020
        Executed on ______________                         8   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Shawn Stone
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
